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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                               Tampa Division

  TRUMP MEDIA & TECHNOLOGY
  GROUP CORP.,

              Plaintiff,

  v.                                             Case No.: 8:23-cv-1535-TPB-AAS

  WP COMPANY, LLC,
  d/b/a The Washington Post

              Defendant.
                                        /

       PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S
         MOTION TO DISMISS THE SECOND AMENDED COMPLAINT

         Defendant, The Washington Post, defamed Plaintiff, Trump Media &

  Technology Group, Corp. (“TMTG”), with the help of an ex-employee, causing

  significant harm to TMTG. Defendant attempts to evade accountability for its

  egregious conduct by twisting the facts and misrepresenting the content of the

  documents it supposedly relied on to make false claims and damaging

  insinuations about TMTG.

        Pursuant to this Court’s instruction, TMTG has articulated how Defendant

  acted with actual malice. Defendant falsely asserted that TMTG paid and/or

  agreed to pay a finder’s fee for a loan and failed to disclose it, clearly implying

  unethical and potentially criminal conduct. Defendant knew these statements

  were false but maliciously published them anyway as part of a years-long crusade

  to harm TMTG. Defendant should not be able to shift blame for its wrongful
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  conduct to third parties, and the factual issues Defendant raises should be

  addressed after this Court denies Defendant’s motion to dismiss.


                                    BACKGROUND


         On May 13, 2023, Defendant, acting in concert with a former employee of

  TMTG, Will Wilkerson, who was terminated for cause, published a salacious hit

  piece falsely accusing TMTG of securities fraud and other wrongdoing. 2d Am.

  Compl. at ¶ 2. Defendant falsely asserted that TMTG paid a finder’s fee for a loan

  and also concealed such purported payment. Id. at ¶ 14. Still, Defendant published

  its defamatory article all across the internet for the purpose of maligning a

  company connected to President Trump. Id. at ¶¶ 15-22

         Defendant’s statements were materially false. Id. at ¶ 27. TMTG had never

  paid a finder’s fee for the subject loan, nor did it agree to pay a finder’s fee. Id. at

  ¶ 28. Despite this falsity and being notified of the same, Defendant refused to

  retract the lies. Id. at ¶ 32. Defendant wanted to inflict harm on TMTG and did so.

  Id. at ¶ 42(c); 43.

         On December 23, 2024, this Court granted Defendant’s motion to dismiss

  because it found that TMTG did not adequately plead actual malice but invited

  TMTG to refile. Dkt. No. 68. In accordance with that guidance, TMTG’s Second

  Amended Complaint pleads direct evidence of Defendant’s knowledge of the

  falsity in its statements; specifically, that Defendant simply fabricated an event due

  to its ill will and intent to harm TMTG. 2d Am. Compl. at ¶ 42. Further, TMTG

  pled how, to the extent Defendant claims reliance on Wilkerson, this supposed

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  reliance would not exculpate Defendant. Id. Accordingly, having scoped its

  complaint in accordance with the Court’s direction to meet its burden at the

  pleading stage, TMTG respectfully requests that this Court deny Defendant’s

  motion to dismiss in its entirety.


                               STANDARD OF REVIEW


        A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the

  sufficiency of a complaint. Importantly, a motion to dismiss does not resolve

  contests surrounding the facts, the merits of a claim, or the applicability of

  defenses. The threshold for surviving a motion to dismiss for failure to state a

  claim under Rule 12(b)(6) is a “low one.” Farmer v. Humana, Inc., 2022 WL 432126,

  at * 2 (M.D. Fla. 2022) (citing Quality Foods de Centro Am., S.A. v. Latin Am.

  Agribusiness Dev. Corp., S.A. et al., 711 F.2d 989, 995 (11th Cir. 1983)).

        The Federal Rules of Civil Procedure “require[] only ‘a short and plain

  statement of the claim showing that the pleader is entitled to relief,’ in order to

  ‘give the defendant fair notice of what the ... claim is and the grounds upon which

  it rests.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v.

  Gibson, 355 U.S. 41, 47 (1957)). Further, courts must construe the complaint

  liberally, accepting the pleaded facts as true and construing the facts in the light

  most favorable to the plaintiff. Yachera v. Westminster Pharmaceuticals, Inc., 477

  F.Supp.3d 1251, 1262 (M.D. Fla. 2020) (citing Quality Foods, 711 F.2d at 994-995)).




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                                      ARGUMENT


     I.      TMTG Sufficiently Stated a Claim for Defamation.

          Defamation claims in Florida must allege five elements: “(1) publication; (2)

  falsity; (3) the statement was made with knowledge or reckless disregard as to the

  falsity on a matter concerning a public official, or at least negligently on a matter

  concerning a private person; (4) actual damages; and (5) the statement must be

  defamatory.” Turner v. Wells, 879 F.3d 1254, 1262 (11th Cir. 2018). Defendant

  contests only one of these factors: actual malice.

          Actual malice is defined as “knowledge that it was false or with reckless

  disregard of whether it was false or not.” Harte-Hanks Communications, Inc. v.

  Connaughton, 491 U.S. 657, 659 (1989) (quoting New York Times Co. v. Sullivan, 376

  U.S. 254, 279–280 (1964)). A plaintiff is entitled to prove a defendant’s state of mind

  through circumstantial evidence, which is often the only way to prove malice in

  libel cases. Id. at 668, 681–82, 683–84. Actual malice exists based on the “sum total

  of the inferences of actual malice” that may be properly drawn. Hunt v. Liberty

  Lobby, 720 F.2d 631, 645–46 (11th Cir. 1983). Although “a showing of ill will, alone,

  cannot establish actual malice . . . ill will or motive, when combined with other

  evidence, may amount to actual malice.” Don King Prods., Inc. v. Walt Disney Co.,

  40 So. 3d 40, 44 (Fla. 4th DCA 2010). Here, the Second Amended Complaint alleges

  facts sufficient to “give rise to a reasonable inference that the false statement was

  made with knowledge that it was false or with reckless disregard of whether it




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  was false or not.” Michel v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th Cir. 2016)

  (internal citations omitted).


            a.    Defendant fabricated an event.

        As an initial matter, because this case involves a complete and utter

  fabrication, Defendant is not protected from its lies. Defendant effectively

  invented two lies about TMTG. First, two statements claiming that TMTG paid a

  $240,000 finder’s fee for a loan deal. 2d Am. Compl. at ¶ 14. Second, one statement

  that TMTG failed to disclose that finder’s fee to shareholders and the SEC. Id.

  Defendant simply fabricated both events. TMTG did not pay a finder’s fee, nor

  was there an agreement to pay such a finder’s fee. Id. at ¶ 28. Thus, TMTG did not

  fail to disclose a finder’s fee either, as there was nothing to disclose. Instead,

  Defendant fabricated these events. While Defendant now professes its good faith

  in not knowing that its lies were false, the Supreme Court has noted that such

  “[p]rofessions of good faith will be unlikely to prove persuasive . . . where a story

  is fabricated by the defendant . . . .” St. Amant v. Thompson, 390 U.S. 727, 732 (1968).

  The Seventh Circuit built on this holding in Carson v. Allied News Co., 529 F.2d 206

  (7th Cir. 1976). In Carson, the Seventh Circuit noted that “[t]he defendants in

  fabricating . . . ‘facts' necessarily entertained serious doubts as to the truth of the

  statements and had a high degree of awareness of their probable falsity.” Id. Thus,

  the plaintiff was entitled to a jury determination. Id.

        Likewise, here, TMTG is entitled to a jury determination of whether

  Defendant acted with actual malice. Defendant falsely asserted as fact that TMTG


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  paid a finder’s fee for a loan. Defendant then enhanced that lie, claiming TMTG

  failed to disclose the finder’s fee. In doing so, Defendant must have acted with

  serious doubts about the veracity of its claims because its story was a complete

  fabrication. Defendant claimed, in the subject article, that internal documents from

  TMTG provided Defendant with the basis to state that TMTG paid a finder’s fee

  and failed to disclose it. 2d Am. Compl. at ¶ 42(a). Defendant also admitted that it

  did, in fact, review these internal documents. Id. Yet, such internal documents did

  not include any documents showing that TMTG paid or agreed to pay a finder’s

  fee or failed to disclose that finder’s fee, which, due to Defendant’s review of the

  documents, Defendant knew. If a finder’s fee were paid, there would have been a

  paper trail. Id. A third-party invoice, cited by Defendant to support its claims

  regarding the finder's fee, gives no indication that there was an agreement to pay

  a finder's fee, that the fee was paid, or that TMTG failed to disclose anything. Id.

  at ¶ 42(a) n.3. Likewise, the other document cited by the Defendant, an unsigned

  and undated draft referral agreement, does not support the allegations. Defendant

  would know that such draft documents are not indicative of an agreement and are

  certainly not indicative of a failure to disclose.

        Defendant argues that the subject third-party invoice and the draft referral

  agreement provided it with a subjective belief that TMTG paid a finder’s fee. Dkt.

  No. 74 at 11-14. These protestations of good faith are unpersuasive, especially at

  this stage in the proceedings. As pled, the invoice did not provide “evidence of an

  agreement to pay a fee, much less of an actual payment.” 2d Am. Compl. at ¶ 42(a)

  n.3. Nor would the mere sending of a draft agreement by a third party show that
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  TMTG agreed to pay a finder’s fee. Therefore, it is difficult to imagine how

  Defendant could have relied on this invoice or agreement for its false assertions

  that TMTG paid a finder’s fee or failed to disclose that payment when the

  documents themselves did not actually say what Defendant self-servingly claims

  they said. As the Second Circuit has held, “one cannot fairly argue his good faith

  or avoid liability by claiming that he is relying on the reports of another if the

  latter's statements or observations are altered or taken out of context.” Goldwater

  v. Ginzburg, 414 F.2d 324, 337 (2d Cir. 1969). Here, Defendant took these subject

  documents out of context, distorting what they actually said in order to advance a

  false narrative. Thus, Defendant cannot avoid liability at the motion to dismiss

  stage. This is again especially true for Defendant’s statement that TMTG failed to

  disclose a finder’s fee, for which, importantly, Defendant does not even attempt to

  argue that any invoices or agreements provided a basis.


           b.    Defendant cannot avoid liability by claiming reliance on
                 Wilkerson.

        To the extent Defendant claims reliance on Wilkerson for any of its lies, this

  does not save Defendant. The subject article does not claim that Wilkerson told

  Defendant that TMTG paid the finder’s fee or failed to disclose the finder’s fee.

  Instead, the subject article merely says that Wilkerson provided documents,

  including a referral fee agreement and invoice. Importantly, the subject article

  provides zero basis for any argument that Defendant relied on Wilkerson for its

  specific assertion that TMTG failed to disclose a finder’s fee. Thus, Defendant’s



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  claimed reliance on Wilkerson is contrary to the subject article itself; the extent of

  Defendant’s reliance on Wilkerson, if any, should be subject to discovery.

        Still, if the Court finds it appropriate to consider Defendant’s supposed

  reliance on Wilkerson, this still does not protect Defendant. Wilkerson was an

  inherently unreliable source. In Hunt v. Liberty Lobby, the defendant relied on a

  source that was directly at odds with the plaintiff. Hunt, 720 F.2d at 645. There

  were “obvious reasons to doubt the veracity of the informant or the accuracy of

  his reports.” Id. (quoting St. Amant v. Thompson, 390 U.S. 727, 732 (1968)). Thus, it

  remained a question for the jury as to whether the defendant satisfactorily

  followed up on the doubts they had about the source. Id. This was coupled with

  the fact that the news story was not “hot.” Id. “When a story is not ‘hot news,’

  ‘actual malice may be inferred when the investigation ... was grossly inadequate

  in the circumstances.’” Id. (quoting Vandenburg v. Newsweek Inc., 441 F.2d 378, 380

  (5th Cir. 1971)). A defendant cannot “feign ignorance” in such situations. Hunt,

  720 F.2d at 644 (quoting Gertz v Robert Welch, Inc., 680 F.2d 527, 538 (7th Cir. 1982)).

        Here, Defendant’s supposed source, Wilkerson, was likewise directly at

  odds with TMTG. TMTG terminated Wilkerson for cause for his unauthorized

  disclosure of TMTG’s confidential information. 2d Am. Compl. at ¶ 9. Wilkerson

  then publicly shopped negative and accusatory stories about TMTG. Id. This is

  something that Defendant knew, as it had published sympathetic articles about

  Wilkerson. Id. at 42(b). Defendant wrote about Wilkerson being “fired,” and being

  a “threat” to TMTG. Id. Even before this, Wilkerson’s bad blood with TMTG was

  widely publicized. The Miami Herald published an article including at least six
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  disparaging quotes that Wilkerson made about TMTG. Id. Also as in Hunt, the

  news story here was not “hot” news. Still, Defendant relied on its troubled source

  without conducting any sort of investigation into the reliability of the information

  he was allegedly providing beyond after a cursory inquiry to TMTG after the story

  was effectively already written. Simply put, Defendant avoided the truth.

        While “failure to investigate will not alone support a finding of actual

  malice,” “purposeful avoidance of the truth is in a different category.” Harte-

  Hanks, 491 U.S. at 692 (quoting St. Amant, 390 U.S. at 731-33). Here, Defendant had

  documents that did not show what Defendant claimed they showed and utilized

  an unreliable source. Any reasonable person acting in good faith in such a scenario

  would have doubts. Defendant, however, because of its intent to harm TMTG,

  willfully avoided the truth. Accordingly, as in Hunt, actual malice is, at the very

  least, a question for the jury.

        Defendant’s reliance on Harvey v. CNN, Inc. does not change this conclusion.

  Dkt. No. 74 at 15. In Harvey, the defendant disclosed the issues with its supposed

  source and characterized the subject statements as “claims” that the source made.

  Harvey v. CNN, Inc., 48 F.4th 257, 274 (4th Cir. 2022). Here, Defendant did not even

  disclose in the subject article that TMTG terminated Wilkerson for cause. Further,

  Defendant presented its statements as fact rather than as claims of Wilkerson.

        Defendant’s box-checking attempt to contact TMTG does not change this

  conclusion either. As pled, Defendant intended to inflict harm on TMTG. 2d Am.

  Compl. at ¶ 42(c). As the subject article makes clear, Defendant had disregarded

  TMTG’s denials in the past and subsequently disregarded TMTG’s retraction
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  request. 2d Am. Compl. Ex. A. Thus, Defendant was not actually searching for the

  truth, and its self-serving assertions to the contrary are not entitled to any

  deference at this stage. And the fact that Defendant completely rejected TMTG’s

  retraction demand, 2d Am. Compl. at ¶ 32, is additional evidence of actual malice.

  See Nunes v. Lizza, 12 F.4th 890, 901 (8th Cir. 2021) (“Republication of a statement

  after the defendant has been notified that the plaintiff contends that it is false and

  defamatory may be treated as evidence of reckless disregard.”) (internal citations

  omitted).

        Defendant attempts to distinguish this case from Coomer v. Byrne by arguing

  this is not a case where it “ma[de] no effort to contact corroborating sources.” Dkt

  No. 74 at 19 (quoting Coomer v. Byrne, No. 8:24-cv-8, 2025 WL 90097, at *7 (M.D.

  Fla. Jan. 14, 2025)). This, however, is not accurate. While Defendant made one

  attempt to contact TMTG, it does not appear that Defendant contacted anyone

  other than Wilkerson, a dubious source, to corroborate its allegations.

        Furthermore, Defendant puzzlingly argues it “went to great lengths in an

  effort to include TMTG’s position.” One attempt to contact TMTG is not “great

  lengths.” See Lemelson v. Bloomberg L.P., 903 F.3d 19, 24 (1st Cir. 2018) (the

  defendant “reached out repeatedly to secure an interview.”) (emphasis added).


              c.   Additional circumstantial evidence indicates Defendant’s actual
                   malice.

        Furthermore, Defendant acted with ill will and intent. First, Defendant’s

  employee, Drew Harwell, who drafted the subject article, harbors extreme ill will

  against TMTG. This is evidenced in the numerous false and misleading articles

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  Harwell has published about TMTG and those affiliated with TMTG. 2d Am.

  Compl. at ¶ 42(f). Harwell’s ill will was apparent in the subject article as he

  included an irrelevant story about an “investor,” to prop up the false idea that

  TMTG was engaged in securities fraud. Id. at ¶ 25. Defendant did so because it

  wanted “to sensationalize the news and injure TMTG’s business reputation and

  financial standing.” Id. at ¶ 42(c).

        Harwell even went so far as to brag that he “repeatedly registered fake

  accounts on” TMTG’s website. Id. at ¶ 42(f). The fact that Harwell attempted to

  disrupt TMTG’s business shows that his actions went well beyond mere “critical

  commentary.” Dkt. No. 74 at 16. Defendant’s argument that Harwell was actually

  trying to help TMTG by registering these fake accounts is simply incredible and

  not entitled to any deference. Id. at 17 n.7.

        While TMTG acknowledges that ill will alone does not amount to actual

  malice, TMTG does not ask the Court to view each factor alone but as a whole.

  “Evidence of ill will combined with other circumstantial evidence indicating that

  the defendant acted with reckless disregard of the truth or falsity of a defamatory

  statement may also support a finding of actual malice.” Celle v. Filipino Reporter

  Enterprises Inc., 209 F.3d 163, 183 (2d Cir. 2000) (citing Tavoulareas v. Piro, 817 F.2d

  762, 795 (D.C. Cir. 1987)) (en banc) (emphasis added). The combination of TMTG’s

  allegations is sufficient to “raise a ‘reasonable expectation that discovery will

  reveal evidence’ of actual malice.” Lizza, 12 F.4th at 901 (quoting Bell Atl. Corp. v.

  Twombly, 550 U.S. 544, 556 (2007)). See also Hunt, 720 F.2d at 646 (holding that the

  “sum total of the inferences” support a finding of actual malice).
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        Notably, in Zimmerman v. Buttigieg, 521 F. Supp. 3d 1197 (M.D. Fla. 2021),

  this Court seemingly accepted lesser allegations of actual malice at the pleading

  stage. In Zimmerman, the plaintiff argued it pled actual malice because (1) the

  defendant knew he was acquitted of all charges and, therefore, did not engage in

  gun violence as the defendant claimed; (2) a film and book came out showing that

  the defendant’s statements were false; (3) the plaintiff sued for malicious

  prosecution; and (4) the defendant had political animus against the plaintiff.

  Zimmerman v. Buttigieg, No. 8:20-cv-01077, Dkt. No. 20 (M.D. Fla. Jun. 26, 2020).

  The defendant argued (1) its ill will was not evidence of actual malice; (2) the book

  and film were released by a “conspiracy theorist”; (3) the plaintiff’s lawsuit was a

  self-serving denial; and (4) it relied on the reporting of others. Zimmerman v.

  Buttigieg, No. 8:20-cv-01077, Dkt. No. 17 (M.D. Fla. May 29, 2020). This Court took

  the plaintiff’s pleadings as true and found that the plaintiff had sufficiently pled

  actual malice. Zimmerman, 521 F. Supp. 3d at 1214. Similarly, here, internal

  documents did not show that TMTG paid or agreed to pay a finder’s fee or failed

  to disclose that payment, TMTG denied Defendant’s assertions, and Defendant

  has ill will against TMTG. Thus, the combination of evidence, as was the case in

  Zimmerman, is sufficient.


           d.     Defendant’s remaining arguments are unavailing.

        Defendant’s final arguments rely on Lemelson and Michel. Dkt. No. 74 at 18-

  19. In Lemelson, however, the plaintiff waived his fabrication argument, and the

  defendant “repeatedly” attempted to contact the plaintiff, and also attempted to


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  verify with a third party, the SEC. Lemelson, 903 F.3d at 25. Here, there has been no

  such waiver, and, as discussed, Defendant’s fact-checking attempts did not go

  nearly as far. Furthermore, it does not appear that Defendant attempted to contact

  any third parties regarding the veracity of the subject defamatory statements.

        Next, in Michel, the Eleventh Circuit discussed examples of providing

  sufficient adverse positions to avoid liability, such as the defendant including

  “that its primary source was ‘not an unimpeachable source of information,’” and

  casting doubt on its own primary source “by quoting other individuals calling the

  source a ‘liar’ and a ‘con man.’” Michel, 816 F.3d at 703. Here, Defendant provided

  no disclaimer regarding Wilkerson and his “bad blood” with TMTG. 2d Am.

  Compl. at ¶ 42(b). Thus, Defendant failed to “reduce[] the risk that readers will

  reach unfair (or simply incorrect) conclusions,” as was the case in Michel. Michel,

  816 F.3d at 703.

        Accordingly, at this stage, TMTG has satisfied its burden. Defendant

  essentially suggests this Court cannot find liability where it recklessly fabricated

  false statements because it was a mistake. Accepting such an argument would

  turn decades of Supreme Court precedence on its head, eliminating the reckless

  disregard standard entirely. The purpose of the actual malice standard is not to

  give prominent journalists a free pass to say what they like about public figures,

  so long as they claim to have honestly believed their own reckless fabrications. As

  Chief Justice Warren observed, “[f]reedom of the press under the First

  Amendment does not include absolute licenses to destroy lives or careers.” Curtis

  Pub. Co. v. Butts, 388 U.S. 130, 170 (1967) (Warren, C.J., concurring). Defendant is
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  not protected from its knowing or reckless lies about TMTG. Therefore, TMTG

  respectfully requests that this Court deny Defendant’s motion to dismiss.


     II.      TMTG Sufficiently Stated a Claim for Conspiracy.

           Because TMTG has sufficiently pled a claim for defamation, its conspiracy

  claim is likewise sufficient. Defendant argues that this claim violates Florida’s

  single publication rule; however, Florida appellate courts have only applied this

  rule in situations where the underlying defamation claim has failed. Block v.

  Matesic, No. 21-cv-61032, 2023 WL 3816693, at *6 n.5 (S.D. Fla. Jun. 5, 2023).

           Defendant’s only remaining argument is that TMTG did not sufficiently

  plead an agreement. Dkt. No. 74 at 20. This argument also fails. In Primerica

  Financial Services, Inc., the Southern District of Florida, in applying Florida law,

  found that allegations naming the alleged conspirators, that they performed overt

  acts, and did so in furtherance of the conspiracy with intent to cause harm was

  sufficient at the pleading stage. Primerica Financial Serv., Inc. v. Mitchell, 48 F. Supp.

  2d 1363, 1369-70 (S.D. Fla. 1999). Likewise, here TMTG named the conspirators

  (Defendant, Wilkerson, and other third-party media companies), that Defendant

  performed an overt act by publishing the article, and that Defendant did so in

  furtherance of the conspiracy and to harm TMTG. 2d Am. Compl. at ¶¶ 45-49.

  Accordingly, TMTG has met its burden at the pleading phase.




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                                   CONCLUSION


        For the foregoing reasons, TMTG respectfully requests that this Court deny

  Defendant’s motion to dismiss in its entirety.



  Dated: February 17, 2025                            Respectfully submitted,

                                                      /s/ Jared J. Roberts
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                             CERTIFICATE OF SERVICE


        I certify that on February 17, 2024, a copy of the foregoing was filed with the

  Clerk of the Court using the Court’s CM/ECF system, which will send a copy to

  all counsel of record.



                                                      /s/ Jared J. Roberts
                                                      Jared J. Roberts
                                                      Fla. Bar No. 1036550

                                                      Attorney for Plaintiff




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